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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


LUIS SEGOVIA, et al.,           )
                                )
                 Plaintiffs,    )
                                )                     Case No. 15-cv-10196
v.                              )
                                )
BOARD OF ELECTION COMMISSIONERS )                     Judge Joan B. Gottschall
FOR THE CITY OF CHICAGO, et al. )
,                               )
                                )
                 Defendants.    )




    BOARD OF ELECTION COMMISSIONERS FOR THE CITY OF CHICAGO’S
              RULE 25(d) MOTION TO SUBSTITUTE PARTIES

       Defendant Board of Election Commissioners for the City of Chicago, by its attorneys,

James M. Scanlon & Associates, P.C., hereby moves, pursuant to Federal Rule of Civil

Procedure 25(d), to substitute a party and in support of said motion states as follows:

       1.     The Complaint filed in this cause names the Board of Election Commissioners

for the City of Chicago and Langdon D. Neal, in his official capacity as Chairman of the

Board of Election Commissioners as two of several defendants. See Complaint, ¶ 20.

       2.     Langdon D. Neal tendered his resignation from the Board effective December

31, 2015 and no longer serves on the Board of Election Commissioners.

       3.     Marisel A. Hernandez is the new Chairman of the Board of Election

Commissioners for the City of Chicago.

       WHEREFORE, the Board of Election Commissioners for the City of Chicago



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respectfully moves that Marisel A. Hernandez be substituted for Langdon D. Neal as a

defendant in this cause.

                                          Respectfully submitted,

                                          BOARD OF ELECTION COMMISSIONERS FOR
                                          THE CITY OF CHICAGO, Defendant.

                                          By:     s/ James M. Scanlon             __
                                                  James M. Scanlon & Associates, P.C.
                                                  27 N. Wacker Dr. #502
                                                  Chicago, IL 60606
                                                  312-782-8163




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